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 5 ATTORNEYS FOR
   GREGORY LEE
 6

 7                               UNITED STATES OF DISTRICT COURT
 8
                                 EASTERN DISTRICT OF CALIFORNIA
 9

10

11 UNITED STATES OF AMERICA
                                                        Case No. 2: 17 – CR-0060-MCE
12                            Plaintiff,
13
                                                        STIPULATION AND
     v.                                                 ORDER GRANTING CONTINUANCE
14                                                      OF GREGORY LEE’S SENTENCE
     GREGORY LEE
15
                      Defendant,
16 _______________________________

17

18          Gregory Lee requests that his sentencing date be continued from January 17,
19 2019 at 10:00 a.m. until February 21, 2019 at 10:00 a.m. The AUSA has no objection and

20
     probation is available on that date.
21

22
     Dated: January 14th, 2019                  Respectfully Submitted
23
                                                ________/s/________________
24
                                                Linda Fullerton
25                                              Attorney For Gregory Lee

26                                              _________/s/________________
                                                GRANT B. RABENN
27                                              Assistant United States Attorney
28
           Case 2:17-cr-00060-DAD-DB Document 152 Filed 01/17/19 Page 2 of 2
                                                 Order

1
            It is hereby ordered that the sentencing of Gregory Lee be vacated and continued from
2
     January 17 2019 to February 21, 2019 at 10:00 a.m. in courtroom 7.
3
            IT IS SO ORDERED.
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5 Dated: January 16, 2019

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